Case 1:20-cv-00984-WCB Document 311 Filed 02/07/24 Page 1 of 57 PageID #: 12779

                                                                   DLA Piper LLP (US)
                                                                   1201 North Market Street
                                                                   Suite 2100
                                                                   Wilmington, Delaware 19801-1147
                                                                   www.dlapiper.com

                                                                   Stephanie E. O’Byrne
                                                                   Stephanie.OByrne@dlapiper.com
                                                                   T 302.468.5645




 January 16, 2024                                               PUBLIC VERSION OF D.I. 283
                                                                FILED: FEBRUARY 7, 2024

 VIA CM/ECF
 The Honorable William C. Bryson
 U.S. District Court for the District of Delaware
 844 N. King Street
 Wilmington, DE 19801

        Re: Prolitec Inc. v. ScentAir Technologies, LLC, C.A. No. 20-984-WCB (D. Del.),
           Motion to Exclude New Damages Theories and Related Evidence

 Dear Judge Bryson:

 ScentAir moves for an order precluding new, previously undisclosed damages theories and
 testimony and evidence in support thereof. As raised in the parties’ Proposed Final Pretrial Order,
 Prolitec failed to timely disclose its damages theories, any calculation of damages, and that its
 witnesses have information relevant to those new theories. D.I. 266 at ¶¶ 73-74. Following its
 successful motion to preclude Prolitec’s damages expert’s apportionment opinions, ScentAir is left
 in a worse position of having to shadowbox against Prolitec’s shifting damages theories and facts
 and evidence that have never been properly disclosed, including evidence Prolitec may elicit from
 fact witnesses despite failing to disclose them as having information relevant to the value of the
 alleged benefits of the asserted claims. Though it is clear what Prolitec cannot offer vis-à-vis
 damages at trial—either because its theories are precluded by the Court’s December 13, 2023
 Daubert ruling (D.I. 240) or because Prolitec disclaimed such theories in its opposition to
 ScentAir’s motion in limine (D.I. 264)—ScentAir has no notice of what damages case Prolitec will
 offer at trial. This is the very definition of “trial by surprise.”

 Prolitec Has Not Disclosed Any New Damages Theories or Evidence.

 In its original Initial Disclosures, Prolitec’s entire damages disclosure merely stated that “Prolitec
 will rely on a damages expert to compute damages. . . . Prolitec will produce or otherwise make
 available for inspection and copying the documents and/or other evidentiary material, not
 privileged or protected from disclosure, in its possession, custody, or control, on which its
 computation of damages is based.” Ex. A at 6. Its First Amended disclosures do not contain any
 damages-related information at all, and its Second Amended Initial Disclosures are identical to the
 original disclosures. Exs. B-C. None of Prolitec’s initial disclosures included a computation of
 damages as required by Rule 26. Fed. R. Civ. P. 26(a)(1)(iii) (requiring disclosure of “a
 computation of each category of damages claimed by the disclosing party”). Nor did Prolitec’s
Case 1:20-cv-00984-WCB Document 311 Filed 02/07/24 Page 2 of 57 PageID #: 12780




 The Honorable William C. Bryson
 January 16, 2024
 Page Two


 initial disclosures identify any witness as having information relevant to the computation of
 damages or the economic value of the asserted claims. See generally Exs. A-C.

 During fact discovery, ScentAir served interrogatories seeking the “full factual, legal and numeric
 basis” of Prolitec’s damages claims. See Ex. D at 8. Prolitec’s original response punted the issue
 entirely to expert discovery. Id. at 8-9. Its first supplemental response stated merely that Prolitec
 “is entitled to no less than a reasonable royalty for ScentAir’s use of the Prolitec Asserted Patents
 plus interest and costs fixed by the court,” that its expert would determine what constitutes a
 reasonable royalty, and that such “determination will also be assessed in light of the Georgia
 Pacific factors.” Id. at 9 (emphasis added). In its second supplemental response, Prolitec
 incorporated by reference Dr. Vigil’s expert report—most of which has now been excluded by the
 Court or disclaimed by Prolitec. Id. at 10. In sum, Prolitec disclosed that it would rely entirely on
 Dr. Vigil for its damages case, included a threadbare recitation of the Georgia-Pacific factors as
 support for (but not the basis of) its damages case. Prolitec’s interrogatory responses notably did
 not disclose any alternate damages theories or evidence, nor did it otherwise disclose any facts
 within the knowledge of any of its lay witnesses as supporting its damages claim. Id. at 8-10.1

 In his expert reports, Dr. Vigil disclosed that he spoke with only one lay witness, Prolitec’s
 Matthew Ansley, and relied on those statements as support for his opinions. But those discussions
 primarily related to how Prolitec prices its Aera product and otherwise confirmed that Prolitec has
 never licensed any of its IP before. See, e.g., D.I. 220-21 at ¶¶ 69, 83, 89.2 Though Dr. Vigil makes
 oblique mention that his “analysis of the incremental contribution of the Asserted Patents to the

 1
   As discussed below, Dr. Vigil’s Georgia-Pacific analysis was limited to determining what
 portion of the apportioned Breeze profits—calculated using a since-excluded methodology—
 would compensate Prolitec for the alleged harm. The Georgia-Pacific factors analysis is little more
 than an afterthought in Dr. Vigil’s analysis, which Prolitec used to justify awarding the “upper
 end” of the range of supposed apportioned profits. D.I. 220-21 at ¶ 6. Such cursory analysis
 intended to be applied to a now-excluded apportionment cannot be supplanted as the entire basis
 for Prolitec’s damages case. As the Court excluded Dr. Vigil’s apportionment figure (D.I. 240 at
 8), the question remains what will Prolitec proffer to support an apportionment of the Breeze
 profits to the incremental value of the asserted claims alone.
 2
   How Prolitec prices its products is irrelevant to the incremental value of the asserted claims to
 the Breeze. Mr. Ansley undisputedly lacks any information about how ScentAir prices the accused
 Breeze product. And he is otherwise unqualified to opine on pricing or economic value
 determinations vis-à-vis the asserted claims. See Activision Blizzard, Inc., No. 1:16-cv-00453-
 RGA, 2018 WL 5045186, *1 (D. Del. Oct. 17, 2018) (excluding lay witness testimony under Fed.
 R. Evid. 701 on the basis that the witness lacked relevant expertise to opine on royalty rate).
Case 1:20-cv-00984-WCB Document 311 Filed 02/07/24 Page 3 of 57 PageID #: 12781




 The Honorable William C. Bryson
 January 16, 2024
 Page Three


 Accused Product is based” in part on his “discussions with Prolitec personnel” (id. at ¶ 58), his
 report does not disclose any particular facts disclosed in those discussions upon which his analysis
 is based. In any case, Prolitec has disclaimed the theories in this portion of Dr. Vigil’s report.
 D.I. 264 (MIL Opp.) at 2 (disclaiming paragraphs 58-72 in Dr. Vigil’s opening report and
 paragraphs 27-32 and 39-51 of his reply report).

 Furthermore, in his deposition, Dr. Vigil disclosed for the first time his “commercial viability”
 theory—again, based on conversations with Mr. Ansley—that the whole value of the Breeze is
 attributable to the asserted claims, but these opinions were also excluded by the Court as not having
 been disclosed in either of Dr. Vigil’s reports. D.I. 240 at 37-38. These opinions, and the facts
 underlying them, including facts within the possession of Mr. Ansley, were not disclosed anywhere
 else during fact discovery either. Prolitec clearly indicated that this analysis was squarely within
 the province of its experts under Federal Rule of Evidence 702; it cannot circumvent the Court’s
 Daubert ruling by proffering the same undisclosed theories through fact witnesses instead. There
 is no basis to permit Prolitec to revive this theory at trial. As discussed further below, the failure
 to disclose these theories, facts, and relevant witness knowledge during fact discovery is sufficient
 to reason to exclude them from the trial. Fed. R. Civ. P. 37(c)(1).

 Notably, nowhere in his report does Dr. Vigil indicate that any of his analysis is based on
 discussions with Prolitec’s Nathan Sward. In fact, his report states that he only had discussions
 with Mr. Ansley. D.I. 220-21 at ¶ 11; D.I. 223-7 at ¶ 10. Yet, Prolitec argued that it is Mr. Sward
 who it now intends to proffer at trial in support of Prolitec’s new, undisclosed damages theories
 and calculations. D.I. 264 (MIL Opp.) at 2 n.1.3

 In its order denying ScentAir’s motion in limine to preclude evidence of general “scent diffusion”
 value, the Court ruled in Prolitec’s favor based on Prolitec’s representation that fact witnesses will
 testify that “the vertical sidewall recited in claim 15 of the ’976 patent results in improved particle
 refinement (and thus improved scent diffusion) and that claim 17 of the ’976 patent concerns the
 3
   Prolitec’s new reliance on Mr. Sward for underlying facts regarding the economic value of the
 asserted claims is improper. In his deposition, Mr. Sward claimed to have information in
 interrogatory responses related to technical issues but not financial ones. Ex. E at 12:18-20 (not
 responsible for “business-related” deposition topics), 38:25-39:6 (“limited visibility in the
 [financial] numbers”). Regardless, Mr. Sward is not qualified to testify about highly complex
 economic matters for which he has no training or experience. See Acceleration Bay v. Activision
 Blizzard, Inc., C.A. No. 16-453-RGA, 2018 WL 5045186, *1 (D. Del. Oct. 17, 2018) (“An opinion
 on a reasonable royalty is necessarily based on specialized knowledge. Thus, because he is not
 serving as an expert, Mr. Garland’s opinion that the appropriate reasonable royalty is 15.5% must
 be excluded.”).
Case 1:20-cv-00984-WCB Document 311 Filed 02/07/24 Page 4 of 57 PageID #: 12782




 The Honorable William C. Bryson
 January 16, 2024
 Page Four


 configuration of the insert containing the tortuous passage, which results in benefits in the
 manufacture of a scent diffusion device.” D.I 273 at 10. Though evidence about certain technical
 benefits may arguably be within the province of its technical fact witnesses, lay opinion testimony
 beyond that, which wades into the economic value of such alleged improvements, would be
 improper for several reasons—not least of which is the fact that no Prolitec witness was disclosed
 as having information relating to patent claim value. With respect to Prolitec’s apparent new theory
 based on manufacturing cost savings, Prolitec has never before disclosed any such damages theory
 or calculation (including in Dr. Vigil’s reports), or the evidence that would support a cost-savings
 royalty. Setting aside that Prolitec’s fact witnesses would be unqualified and unable to present
 competent, non-speculative testimony relevant to a cost-savings analysis, Prolitec simply cannot
 disclose such new theories and evidence for the first time at trial—whether through Dr. Vigil or
 any fact witness.

 Finally, Prolitec’s exhibit list contains no financial documents or other documents that could form
 the basis of an economic assessment of damages (nor does it include any documents identified in
 Prolitec’s interrogatory response (see Ex. D at 9-10)). Thus, whatever Prolitec plans to have its lay
 witnesses testify to surely will not be supported by any documentary proof; it will only be the
 witness’s say-so, and worse, say-so that is untested by any discovery in this case.

 Exclusion of Undisclosed Damages Theories and Evidence Is Warranted and Proper.

 “Rule 26(a)(1)(A)(iii) and Rule 26(e) are designed to provide an accused infringer notice of the
 amount of claimed damages and the evidentiary material on which the plaintiff bases that damages
 amount.” NexStep, Inc. v. Comcast Cable Commc’ns, LLC, No. 19-1031-RGA, 2021 WL 5356293,
 at *3 (D. Del. Nov. 17, 2021) (citation omitted). When a party “fails to provide information or
 identify a witness as required by Rule 26(a) or (e), the party is not allowed to use that information
 or witness to supply evidence . . . at trial, unless the failure was substantially justified or is
 harmless.” Fed. R. Civ. P. 37(c)(1).

 Though cases examining damages issues confirm that an aggrieved patentee is entitled to a
 reasonable royalty, courts have consistently found that the failure to disclose damages theories and
 evidence, including in Rule 26 initial disclosures, is a fair basis for exclusion of both fact and
 expert witness testimony. See MLC Intell. Prop., LLC, v. Micron Tech., Inc., 10 F.4th 1358, 1369
 (Fed. Cir. 2021) (affirming district court’s exclusion of expert opinions where the plaintiff failed
 to disclose during fact discovery “what it believed was an appropriate royalty rate, that it believed
 the Hynix and Toshiba licenses reflect a 0.25% royalty rate, and the extrinsic evidence on which
 [the expert] relied in support of his belief”); NexStep, Inc., 2021 WL 5356293, at *2-3 (excluding
 new damages theories that arose after the plaintiff’s expert’s arbitrary apportionment was
Case 1:20-cv-00984-WCB Document 311 Filed 02/07/24 Page 5 of 57 PageID #: 12783




 The Honorable William C. Bryson
 January 16, 2024
 Page Five


 excluded, finding the prior “piecemeal disclosure . . . did not meet the disclosure requirements
 of Rule 26(a)” because the plaintiff “failed to ‘to tie each step of its calculation to the specific
 documents or other evidentiary materials that support it’”); Acceleration Bay, 2018 WL 5045186,
 at *1 (excluding fact witness testimony concerning royalty rate); see also AVM Techs., LLC v. Intel
 Corp., 927 F. Supp. 2d 139, 146 (D. Del. 2013) (“That reasonable royalty damages must be
 awarded if infringement is found, however, does not mean that the rules of evidence do not apply
 to proposed testimony.”); ResQNet.com, Inc. v. Lansa, Inc., 594 F.3d 860, 872 (Fed. Cir. 2010)
 (plaintiff bears the initial burden of proving a reasonable royalty using legally sufficient evidence).

 ScentAir is aware of no authority permitting a patentee to offer a completely new, undisclosed
 damages case at trial based on previously undisclosed facts. To the extent that courts have found
 that a patentee can put in its damages case through fact witnesses after the damages expert has
 been excluded, those cases usually involve anchoring testimony about (disclosed) prior licenses
 with an established royalty rate from which a jury could calculate damages. See, e.g., Intellectual
 Ventures I LLC v. Xilinx, Inc., C.A. No. 10-1065-LPS, 2014 WL 1573542, *2 (D. Del. Apr. 21,
 2014) (finding existence of agreements sufficient to defeat failure of proof of damages summary
 judgment motion). No such evidence exists here. What Prolitec apparently seeks to do instead is
 offer vague, speculative, and undisclosed fact witness testimony about the incremental value of
 the asserted claims vis-à-vis the overbroad category of scent diffusion. See D.I. 264 (MIL Opp.)
 at 2 n.1.

 But Prolitec never disclosed that Mr. Sward or any of its fact witnesses have evidence relevant to
 show the economic value of the asserted claims, let alone the expertise to present it as such. The
 failure to disclose such witnesses and the damages theories premised upon their testimony violates
 Prolitec’s disclosure obligations under Federal Rule of Civil Procedure 26 and alone is grounds
 for exclusion under Rule 37(c)(1). Prolitec never provided its new damages claim in its Rule 26
 disclosures—and still has not done so. The Federal Circuit has held in a patent case that district
 courts may, under Rule 37, properly preclude plaintiffs from relying on any computation or
 evidence of their damages claims beyond that provided in their initial disclosures or interrogatory
 responses. See MLC Intell. Prop., LLC, 10 F.4th at 1370-71. Exclusion is further warranted for
 failure to provide full discovery responses—including the full factual basis—to support a damages
 claim at trial. Id. at 1370-73; NexStep, Inc., 2021 WL 5356293, at *2 (“It is not as though NexStep
 provided alternative damages theories, and the exclusion of one leaves another one to be litigated.
 NexStep simply has cobbled together a new theory using some parts of the old theory and some
Case 1:20-cv-00984-WCB Document 311 Filed 02/07/24 Page 6 of 57 PageID #: 12784




 The Honorable William C. Bryson
 January 16, 2024
 Page Six


 parts that were previously ignored by both sides.”). On this basis alone, Prolitec should not be
 permitted to offer any new, undisclosed damages theory.4

 Finally, though Prolitec may argue that its entire damages case may properly be based on a
 Georgia-Pacific factors analysis, the problem with such contention here is that ScentAir still has
 no notice of any calculation or ultimate damages number that Prolitec may submit to the jury.
 Dr. Vigil’s Georgia-Pacific analysis merely undertakes to determine whether each factor has a
 “neutral”/“no” impact or an “upward” impact on an ultimate royalty amount. See generally D.I.
 220-21 at ¶¶ 82-121. Dr. Vigil’s excluded opinions on apportionment precede, and indeed, are the
 starting point for his Georgia-Pacific analysis. Prolitec has not disclosed any other theories for
 how a jury could apportion profits to the incremental contribution of the asserted claims, and
 ScentAir remains in the dark about what analysis, theories, facts, or testimony Prolitec will use to
 support its damages case. This Court has found under similar circumstances that exclusion is
 warranted. NexStep, Inc., 2021 WL 5356293, at *2, 2 n.1 (excluding new royalty rate and Georgia-
 Pacific analysis, noting that, “without expert testimony, there is no basis for a starting point to
 which an expert can apply the Georgia-Pacific factors. Without a starting point, talking about
 adjustments makes no sense.”). Indeed, allowing a Georgia-Pacific analysis to proceed on an
 unapportioned royalty base (i.e., ScentAir’s incremental profits) would run counter to longstanding
 Supreme Court and Federal Circuit precedent. See Virnetx, Inc. v. Cisco Sys., Inc., 767 F.3d 1308,
 1326 (Fed. Cir. 2014) (“The Supreme Court long ago observed that a patentee must in every case
 give evidence tending to separate or apportion the defendant’s profits and the patentee’s damages
 between the patented feature and the unpatented features, and such evidence must be reliable and
 tangible, and not conjectural or speculative.”).




 4
   In NexStep, this Court ultimately determined that no viable damages theory remained: “I exclude
 from the trial all testimony and/or evidence solely offered to prove damages. I do not think any
 viable damages theory has been properly and timely disclosed. Thus, the jury coming in Monday
 will not consider damages.” NexStep, Inc. v. Comcast Cable Commc’ns, LLC, C.A. No. 19-1031-
 RGA, D.I. 363 (D. Del. Sept. 17, 2021).
Case 1:20-cv-00984-WCB Document 311 Filed 02/07/24 Page 7 of 57 PageID #: 12785




 The Honorable William C. Bryson
 January 16, 2024
 Page Seven


 Prolitec Should at the Very Least Be Required to Make a Proffer of its Damages Theories and
 Evidence.

 ScentAir is severely prejudiced by Prolitec’s failures to disclose its damages theories and evidence
 in its initial disclosures or interrogatory responses and its continued failure to supplement those
 disclosures after the Court struck its damages expert’s apportionment theories. It is far too late
 now, less than a week before trial, to remedy those failures. ScentAir already has been deprived of
 the opportunity to take “targeted discovery around the factual basis of [any new] theory.” NexStep,
 Inc., 2021 WL 5356293, at *3 (finding that the Pennypack factors also supported exclusion of
 undisclosed damages theories and evidence under Rule 37). There is no time left to depose fact
 witnesses, develop documentary evidence that would debunk these new theories, or to allow its
 expert to consider, test, or rebut any such theories. For example, if Prolitec disclosed its new cost-
 savings royalty theory during fact discovery, ScentAir could have developed evidence to show that
 ScentAir did not save costs. ScentAir’s preparation of its fact and expert witnesses for trial is also
 significantly hampered by the lack of disclosure. Thus, if the Court is not inclined to grant the
 relief under Federal Rule of Civil Procedure 37(c)(1)—specifically, to preclude new, undisclosed
 damages theories and evidence in support thereof—then ScentAir respectfully requests that the
 Court, at a minimum, order Prolitec to make a proffer of its new damages theories it intends to
 introduce and the specific, non-speculative facts and evidence in support thereof, notwithstanding
 its continued aversion to disclosing its damages theories and evidence. See D.I. 266 at ¶ 75; see,
 e.g., NexStep, Inc. v. Comcast Cable Commc’ns, LLC, C.A. No. 19-1031-RGA, D.I. 309 (D. Del.
 Sept. 15, 2021) (ordering pre-trial proffer of evidence on equitable issues).

                                                Respectfully,

                                                /s/ Stephanie E. O’Byrne

                                                Stephanie E. O’Byrne (No. 4446)

 cc:    All counsel of record (by CM/ECF)
Case 1:20-cv-00984-WCB Document 311 Filed 02/07/24 Page 8 of 57 PageID #: 12786




                   EXHIBIT A
Case 1:20-cv-00984-WCB Document 311 Filed 02/07/24 Page 9 of 57 PageID #: 12787




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

 PROLITEC INC.,                        )
                                       )
             Plaintiff,                )
                                       )
       v.                              )               CIVIL ACTION NO. 20-00984-RGA
                                       )
 SCENTAIR TECHNOLOGIES, LLC,           )
                                       )
             Defendant.                )
 _____________________________________ )


                  PLAINTIFF PROLITEC INC.’S INITIAL DISCLOSURES

        Pursuant to Federal Rule of Civil Procedure 26(a)(1) and the Court’s October 1, 2020

 Scheduling Order (D.I. 17), Plaintiff Prolitec Inc. (“Prolitec”) hereby submits the following initial

 disclosures. Prolitec makes these initial disclosures based upon information reasonably known to

 Prolitec as of the date hereof, and based on information obtained to date and reasonably available

 to Prolitec. Prolitec’s investigation is ongoing and, accordingly, Prolitec reserves the right to

 modify, amend, or otherwise supplement these disclosures, pursuant to Rule 26(e) of the Federal

 Rules of Civil Procedure, as additional information becomes available or appreciated during the

 course of this lawsuit or in the event that one or more of these witnesses becomes unavailable and

 others must be substituted.

        Prolitec’s disclosures are made without waving: (1) the right to object on the grounds of

 competency, privilege, relevance and materiality, hearsay or any other proper ground, to the use

 of any such information, for any purpose, in whole or in part, in any subsequent proceeding in this

 action or any other action; and (2) the right to object on any and all grounds, at any time, to any

 other discovery request or proceeding involving or relating to the subject matter of these

 disclosures.
Case 1:20-cv-00984-WCB Document 311 Filed 02/07/24 Page 10 of 57 PageID #: 12788




    A. PERSONS HAVING KNOWLEDGE OF RELEVANT FACTS

        Prolitec identifies the following individuals likely to have discoverable information that

 Prolitec may use to support its claims or defenses, unless solely for impeachment. Individuals

 marked with a “*” should only be contacted through counsel for Prolitec:

       Names and Contact Information                         Description of Knowledge

  Matthew Ansley*                                   Executive Vice President and COO at Prolitec
                                                    believed to have knowledge about the
  Please contact only through counsel:              conception and reduction to practice of the
                                                    inventions claimed in U.S. Patent No.
  J. Derek McCorquindale                            9,162,004, U.S. Patent No. 9,480,767, and
  Finnegan, Henderson, Farabow,                     U.S. Patent No. 9,745,976 (collectively, “the
  Garrett & Dunner, LLP                             Prolitec Patents”) and the development,
  1875 Explorer Street, Suite 800                   testing, and properties of the claimed
  Reston, VA 20190-6023                             inventions.
  (571) 203-2768
  derek.mccorquindale@finnegan.com

  Richard Weening*                                  Chairman and CEO at Prolitec believed to
                                                    have knowledge regarding Prolitec products,
  Please contact only through counsel:              patenting, and other relevant sales and market
                                                    information.
  J. Derek McCorquindale
  Finnegan, Henderson, Farabow,
  Garrett & Dunner, LLP
  1875 Explorer Street, Suite 800
  Reston, VA 20190-6023
  (571) 203-2768
  derek.mccorquindale@finnegan.com

  Nathan Sward*                                     Director of Engineering at Prolitec believed to
                                                    have knowledge about the conception and
  Please contact only through counsel:              reduction to practice of the inventions
                                                    claimed in the Prolitec Patents and the
  J. Derek McCorquindale                            development, testing, and properties of the
  Finnegan, Henderson, Farabow,                     claimed inventions.
  Garrett & Dunner, LLP
  1875 Explorer Street, Suite 800
  Reston, VA 20190-6023
  (571) 203-2768
  derek.mccorquindale@finnegan.com




                                                2
Case 1:20-cv-00984-WCB Document 311 Filed 02/07/24 Page 11 of 57 PageID #: 12789




  Andrew Williams                            Believed to have knowledge about the
                                             conception and reduction to practice of the
  May be contacted through:                  inventions claimed in U.S. Patent No.
                                             9,480,767 and the development, testing, and
  J. Derek McCorquindale                     properties of the claimed inventions.
  Finnegan, Henderson, Farabow,
  Garrett & Dunner, LLP
  1875 Explorer Street, Suite 800
  Reston, VA 20190-6023
  (571) 203-2768
  derek.mccorquindale@finnegan.com

  Roger Bensinger*                           Executive Vice President of Global Business
                                             Development at Prolitec believed to have
  Please contact only through counsel:       knowledge of the Prolitec products, sales, and
                                             market conditions.
  J. Derek McCorquindale
  Finnegan, Henderson, Farabow,
  Garrett & Dunner, LLP
  1875 Explorer Street, Suite 800
  Reston, VA 20190-6023
  (571) 203-2768
  derek.mccorquindale@finnegan.com

  Danielle Leigh*                            Vice President at Prolitec believed to have
                                             knowledge of the Prolitec products, sales, and
  Please contact only through counsel:       market conditions.

  J. Derek McCorquindale
  Finnegan, Henderson, Farabow,
  Garrett & Dunner, LLP
  1875 Explorer Street, Suite 800
  Reston, VA 20190-6023
  (571) 203-2768
  derek.mccorquindale@finnegan.com

  Brandon Norberg*                           National Account Director at Prolitec
                                             believed to have knowledge of the Prolitec
  Please contact only through counsel:       products, sales, and market conditions.

  J. Derek McCorquindale
  Finnegan, Henderson, Farabow,
  Garrett & Dunner, LLP
  1875 Explorer Street, Suite 800
  Reston, VA 20190-6023
  (571) 203-2768


                                         3
Case 1:20-cv-00984-WCB Document 311 Filed 02/07/24 Page 12 of 57 PageID #: 12790




  derek.mccorquindale@finnegan.com

  Dean Wilson*                               Director of National & Strategic Accounts at
                                             Prolitec believed to have knowledge of the
  Please contact only through counsel:       Prolitec products, sales, and market
                                             conditions.
  J. Derek McCorquindale
  Finnegan, Henderson, Farabow,
  Garrett & Dunner, LLP
  1875 Explorer Street, Suite 800
  Reston, VA 20190-6023
  (571) 203-2768
  derek.mccorquindale@finnegan.com

  Max Crabb*                                 Design Engineer at Prolitec believed to have
                                             technical knowledge of the subject matter of
  Please contact only through counsel:       the asserted patents

  J. Derek McCorquindale
  Finnegan, Henderson, Farabow,
  Garrett & Dunner, LLP
  1875 Explorer Street, Suite 800
  Reston, VA 20190-6023
  (571) 203-2768
  derek.mccorquindale@finnegan.com

  Emily Junger*                              Design Engineer at Prolitec believed to have
                                             technical knowledge of the subject matter of
  Please contact only through counsel:       the asserted patents

  J. Derek McCorquindale
  Finnegan, Henderson, Farabow,
  Garrett & Dunner, LLP
  1875 Explorer Street, Suite 800
  Reston, VA 20190-6023
  (571) 203-2768
  derek.mccorquindale@finnegan.com

  Kirsten Pelkey*                            Quality Engineer at Prolitec believed to have
                                             technical knowledge of the subject matter of
  Please contact only through counsel:       the asserted patents

  J. Derek McCorquindale
  Finnegan, Henderson, Farabow,
  Garrett & Dunner, LLP
  1875 Explorer Street, Suite 800


                                         4
Case 1:20-cv-00984-WCB Document 311 Filed 02/07/24 Page 13 of 57 PageID #: 12791




  Reston, VA 20190-6023
  (571) 203-2768
  derek.mccorquindale@finnegan.com

  One or more persons at Seed Intellectual           Believed to have knowledge about the
  Property Law Group LLP                             prosecution of the Prolitec Patents.
  701 Fifth Avenue, Suite 5400
  Seattle, WA 98104-7064
  (206) 622-4900

  Past and/or present employees and agents of        Believed to have knowledge about the
  ScentAir Technologies, LLC knowledgeable           research, development, manufacture, sales
  about the research, development,                   and distribution of ScentAir’s commercial
  manufacture, sales and distribution of             products.
  ScentAir’s commercial products.

        Prolitec reserves the right to identify and call as witnesses at trial additional persons who

 become known to Prolitec and are knowledgeable regarding discoverable information that Prolitec

 may use to support its claims or defenses, provided such persons are known by or made known to

 ScentAir Technologies, LLC (“ScentAir”) in some manner during discovery, including, for

 example, ScentAir’s employees, agents, or attorneys who are likely to have discoverable

 information that Prolitec may use to support its claims or defenses, and any individuals named in

 ScentAir’s Initial Disclosures.

    B. DOCUMENTS, ELECTRONICALLY STORED INFORMATION, AND
       TANGIBLE THINGS

        Pursuant to Fed. R. Civ. P. 26(a)(1)(A)(ii), based on information reasonably available to

 Prolitec at this time, Prolitec describes below by category and location the following documents,

 electronically stored information, and tangible things that are within Prolitec’s possession,

 custody, or control, or are publicly available, and which Prolitec may use to support its claims or

 defenses, unless solely for impeachment:

    1. The Prolitec Patents.

    2. The prosecution history of each of the Prolitec Patents.



                                                 5
Case 1:20-cv-00984-WCB Document 311 Filed 02/07/24 Page 14 of 57 PageID #: 12792




    3. Documents and/or electronically stored information evidencing the conception and
       reduction to practice of the inventions claimed in each of the Prolitec Patents.

    4. Documents and/or electronically stored information reporting test results and properties
       of the inventions claimed in each of the Prolitec Patents.

    5. Documents and/or electronically stored information relating to the title, assignment,
       transfer, licensing, and assertion of the Prolitec Patents.

    6. Documents and/or electronically stored information and tangible things relating to the
       infringement of the Prolitec Patents.

    7. Documents and/or electronically stored information relating to sales and marketing of
       Prolitec products and ScentAir products infringing the Prolitec Patents.

    8. Documents and/or electronically stored information relating to damages to Prolitec and lost
       profits related to Prolitec products.

    C. COMPUTATION OF DAMAGES

        Pursuant to Fed. R. Civ. P. 26(a)(1)(A)(iii), Prolitec will rely on a damages expert to

 compute damages. Prolitec states that at this time, ScentAir has not provided sufficient detail or

 clarity as to the scope of its infringement and tortious conduct, and the actual amount of damages

 cannot be calculated without further discovery. Accordingly, the computation of damages will be

 deferred until the time for expert disclosures. Prolitec will produce or otherwise make available

 for inspection and copying the documents and/or other evidentiary material, not privileged or

 protected from disclosure, in its possession, custody, or control, on which its computation of

 damages is based. Prolitec reserves its right to challenge any damages calculation ScentAir offers

 and offer an opposing calculation.

    D. INSURANCE AGREEMENTS

        Pursuant to Fed. R. Civ. P. 26(a)(1)(A)(iv), Prolitec is unaware of any pertinent insurance

 agreements at this time. However, Prolitec reserves the right to supplement this disclosure if any

 pertinent insurance agreements are identified or determined to be relevant after further

 investigation.



                                                 6
Case 1:20-cv-00984-WCB Document 311 Filed 02/07/24 Page 15 of 57 PageID #: 12793




                                           McCARTER & ENGLISH, LLP
 Of Counsel:
                                           /s/ Alexandra M. Joyce
 J. Derek McCorquindale                    Michael P. Kelly (#2295)
 Jency J. Mathew                           Brian R. Lemon (#4730)
 FINNEGAN HENDERSON FARABOW                Alexandra M. Joyce (#6423)
     GARRETT & DUNNER, LLP                 405 N. King St., 8th Floor
 1875 Explorer Street, Suite 800           Wilmington, DE 19801
 Reston, VA 20190-6023                     (302) 984-6300
 (571) 203-2700                            mkelly@mccarter.com
 derek.mccorquindale@finnegan.com          blemon@mccarter.com
 jency.mathew@finnegan.com                 ajoyce@mccarter.com

 Dated: October 13, 2020                   Counsel for Plaintiff Prolitec Inc.




                                       7
Case 1:20-cv-00984-WCB Document 311 Filed 02/07/24 Page 16 of 57 PageID #: 12794




                   EXHIBIT B
Case 1:20-cv-00984-WCB Document 311 Filed 02/07/24 Page 17 of 57 PageID #: 12795




                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

 PROLITEC INC.,                        )
                                       )
             Plaintiff,                )
                                       )
       v.                              )                CIVIL ACTION NO. 20-00984-RGA
                                       )
 SCENTAIR TECHNOLOGIES, LLC,           )
                                       )
             Defendant.                )
 _____________________________________ )


            PLAINTIFF’S PATENT INFRINGEMENT INITIAL DISCLOSURES

        Plaintiff Prolitec Inc. (“Prolitec”) provides these initial disclosures to Defendant ScentAir

 Technologies, LLC (“ScentAir”), in accordance with Sections 3 and 4(a) of the Court’s Default

 Standard for Discovery, Including Discovery of Electronically Stored Information. These

 disclosures are based on information reasonably available to Prolitec as of this date. Prolitec

 reserves the right to supplement or modify these disclosures as additional information becomes

 available, as its investigation continues, or through discovery in this action.

        Prolitec’s disclosures are made without waving: (1) the right to object on the grounds of

 competency, privilege, relevance and materiality, hearsay or any other proper ground, to the use

 of any such information, for any purpose, in whole or in part, in any subsequent proceeding in this

 action or any other action; and (2) the right to object on any and all grounds, at any time, to any

 other discovery request or proceeding involving or relating to the subject matter of these

 disclosures.

 I.     Custodians Likely to Have Discoverable Information

        Pursuant to Section 3(a) of the Delaware Default Standard for Discovery, Prolitec identifies

 the following individuals likely to have discoverable information that Prolitec may use to support



                                                   1
Case 1:20-cv-00984-WCB Document 311 Filed 02/07/24 Page 18 of 57 PageID #: 12796




 its claims or defenses, unless solely for impeachment. Individuals marked with a “*” should only

 be contacted through counsel for Prolitec:

        Names and Contact Information                        Description of Knowledge

  Logan Andres                                      Vice President of Products & Marketing at
                                                    ScentAir believed to have knowledge about
  May be contacted through counsel for              the ScentAir Breeze and related technology.
  ScentAir:

  Joshua B. Pond
  Crowell Moring LLP
  1001 Pennsylvania Avenue NW
  Washington, DC 20004
  (202) 624-2610
  jpond@crowell.com

  Matthew Ansley*                                   Executive Vice President and COO at Prolitec
                                                    believed to have knowledge about the
  Please contact only through counsel:              conception and reduction to practice of the
                                                    inventions claimed in U.S. Patent No.
  J. Derek McCorquindale                            9,162,004, U.S. Patent No. 9,480,767, and
  Finnegan, Henderson, Farabow,                     U.S. Patent No. 9,745,976 (collectively, “the
  Garrett & Dunner, LLP                             Prolitec Patents”) and the development,
  1875 Explorer Street, Suite 800                   testing, and properties of the claimed
  Reston, VA 20190-6023                             inventions.
  (571) 203-2768
  derek.mccorquindale@finnegan.com

  Richard Weening*                                  Chairman and CEO at Prolitec believed to
                                                    have knowledge regarding Prolitec products,
  Please contact only through counsel:              patenting, and other relevant sales and market
                                                    information.
  J. Derek McCorquindale
  Finnegan, Henderson, Farabow,
  Garrett & Dunner, LLP
  1875 Explorer Street, Suite 800
  Reston, VA 20190-6023
  (571) 203-2768
  derek.mccorquindale@finnegan.com

  Nathan Sward*                                     Director of Engineering at Prolitec believed to
                                                    have knowledge about the conception and
  Please contact only through counsel:              reduction to practice of the inventions
                                                    claimed in the Prolitec Patents and the



                                                2
Case 1:20-cv-00984-WCB Document 311 Filed 02/07/24 Page 19 of 57 PageID #: 12797




  J. Derek McCorquindale                     development, testing, and properties of the
  Finnegan, Henderson, Farabow,              claimed inventions.
  Garrett & Dunner, LLP
  1875 Explorer Street, Suite 800
  Reston, VA 20190-6023
  (571) 203-2768
  derek.mccorquindale@finnegan.com

  Andrew Williams*                           Believed to have knowledge about the
                                             conception and reduction to practice of the
  May be contacted through:                  inventions claimed in U.S. Patent No.
                                             9,480,767 and the development, testing, and
  J. Derek McCorquindale                     properties of the claimed inventions.
  Finnegan, Henderson, Farabow,
  Garrett & Dunner, LLP
  1875 Explorer Street, Suite 800
  Reston, VA 20190-6023
  (571) 203-2768
  derek.mccorquindale@finnegan.com

  Roger Bensinger*                           Executive Vice President of Global Business
                                             Development at Prolitec believed to have
  Please contact only through counsel:       knowledge of the Prolitec products, sales, and
                                             market conditions.
  J. Derek McCorquindale
  Finnegan, Henderson, Farabow,
  Garrett & Dunner, LLP
  1875 Explorer Street, Suite 800
  Reston, VA 20190-6023
  (571) 203-2768
  derek.mccorquindale@finnegan.com

  Danielle Leigh*                            Vice President at Prolitec believed to have
                                             knowledge of the Prolitec products, sales, and
  Please contact only through counsel:       market conditions.

  J. Derek McCorquindale
  Finnegan, Henderson, Farabow,
  Garrett & Dunner, LLP
  1875 Explorer Street, Suite 800
  Reston, VA 20190-6023
  (571) 203-2768
  derek.mccorquindale@finnegan.com




                                         3
Case 1:20-cv-00984-WCB Document 311 Filed 02/07/24 Page 20 of 57 PageID #: 12798




  Emily Junger*                                      Design Engineer at Prolitec believed to have
                                                     technical knowledge of the subject matter of
  Please contact only through counsel:               the asserted patents.

  J. Derek McCorquindale
  Finnegan, Henderson, Farabow,
  Garrett & Dunner, LLP
  1875 Explorer Street, Suite 800
  Reston, VA 20190-6023
  (571) 203-2768
  derek.mccorquindale@finnegan.com

  Dean Wilson*                                       Director of National & Strategic Accounts at
                                                     Prolitec believed to have knowledge of the
  Please contact only through counsel:               Prolitec products, sales, and market
                                                     conditions.
  J. Derek McCorquindale
  Finnegan, Henderson, Farabow,
  Garrett & Dunner, LLP
  1875 Explorer Street, Suite 800
  Reston, VA 20190-6023
  (571) 203-2768
  derek.mccorquindale@finnegan.com

  Max Crabb*                                         Design Engineer at Prolitec believed to have
                                                     technical knowledge of the subject matter of
  Please contact only through counsel:               the asserted patents

  J. Derek McCorquindale
  Finnegan, Henderson, Farabow,
  Garrett & Dunner, LLP
  1875 Explorer Street, Suite 800
  Reston, VA 20190-6023
  (571) 203-2768
  derek.mccorquindale@finnegan.com

  Past and/or present employees and agents of
  ScentAir Technologies, LLC knowledgeable
  about the Accused Product at issue.



        Prolitec reserves the right to identify and call as witnesses at trial additional persons who

 become known to Prolitec and are knowledgeable regarding discoverable information that Prolitec




                                                 4
Case 1:20-cv-00984-WCB Document 311 Filed 02/07/24 Page 21 of 57 PageID #: 12799




 may use to support its claims or defenses, provided such persons are known by or made known to

 ScentAir Technologies, LLC (“ScentAir”) in some manner during discovery, including, for

 example, ScentAir’s employees, agents, or attorneys who are likely to have discoverable

 information that Prolitec may use to support its claims or defenses, and any individuals named in

 ScentAir’s Initial Disclosures.

 II.    Non-Custodial Data Sources Likely to Have Discoverable Information

        Pursuant to Section 3(b) of the Delaware Default Standard for Discovery, the following is

 a list of the non-custodial data sources (e.g., systems or databases) most likely to contain non-

 duplicative discoverable information for preservation and production consideration:

        1.      Prolitec Inc. Enterprise File System, 1235 W. Canal St. Milwaukee, WI 53233.

 III.   Notices Relating to Electronic Discovery

        Pursuant to Section 3(c)(i) of the Delaware Default Standard for Discovery, Prolitec is

 unaware at this time of any issues relating to electronically stored information not reasonably

 accessible under Fed. R. Civ. P. 26(b)(2)(C)(i).

        Pursuant to Section 3(c)(ii) of the Delaware Default Standard for Discovery, Prolitec is

 unaware at this time of any issues relating to third-party discovery under Fed. R. Civ. P. 45.

        Pursuant to Section 3(c)(iii) of the Delaware Default Standard for Discovery, Prolitec is

 unaware at this time of any issues relating to privacy protections or information that may be

 produced from outside of the United States and subject to foreign laws.

 IV.    Accused Product

        Pursuant to Section 4(a) of the Delaware Default Standard for Discovery and based upon

 information reasonably available to Prolitec, the Accused Product in this case is ScentAir’s

 ScentAir Breeze, as well as any reasonably similar products that ScentAir has or may introduce in




                                                    5
Case 1:20-cv-00984-WCB Document 311 Filed 02/07/24 Page 22 of 57 PageID #: 12800




 the future. As alleged in Prolitec’s First Amended Complaint, the Accused Product infringes the

 Asserted Patents through ScentAir and/or its customers making, using, offering to sell, selling,

 and/or importing the Accused Product in the United States. Dkt. 19 ¶¶ 25-45.

 V.     Asserted Patents

        Pursuant to Section 4(a) of the Delaware Default Standard for Discovery and based on

 information reasonably available to Prolitec at this time, the Asserted Patents include U.S. Patent

 Nos. 9,162,004 titled “Removable Cartridge for Liquid Diffusion Device and Cartridge Insert

 Thereof” (“the ’004 patent”), 9,480,767 titled “Removable Cartridge and Cap Assembly for an Air

 Treatment Appliance” (“the ’767 patent”), and 9,745,976 titled “Removable Cartridge for Liquid

 Diffusion Device and Cartridge Insert Thereof” (“the ’976 patent”).

 VI.    File Histories

        Prolitec is concurrently producing certified copies of the file histories for the ’004 patent

 (PROLITEC00000001-0213),            the       ’767       patent       (PROLITEC00000214-0400;

 PROLITEC00000609), and the ’976 patent (PROLITEC00000401-0607; PROLITEC00000608).




 Dated: November 4, 2020                              McCARTER & ENGLISH, LLP

 Of Counsel:                                          /s/ Alexandra M. Joyce
                                                      Michael P. Kelly (#2295)
 J. Derek McCorquindale                               Brian R. Lemon (#4730)
 Jency J. Mathew                                      Alexandra M. Joyce (#6423)
 FINNEGAN HENDERSON FARABOW                           405 N. King St., 8th Floor
 GARRETT & DUNNER, LLP                                Wilmington, DE 19801
 1875 Explorer Street, Suite 800                      (302) 984-6300
 Reston, VA 20190-6023                                mkelly@mccarter.com
 (571) 203-2700                                       blemon@mccarter.com
 derek.mccorquindale@finnegan.com                     ajoyce@mccarter.com
 jency.mathew@finnegan.com
                                                      Counsel for Plaintiff Prolitec Inc



                                                 6
Case 1:20-cv-00984-WCB Document 311 Filed 02/07/24 Page 23 of 57 PageID #: 12801




 Eric S. Magleby
 FINNEGAN HENDERSON FARABOW
 GARRETT & DUNNER, LLP
 901 New York Ave, NW
 Washington, DC 20001-4413
 (202) 408-4000
 eric.magleby@finnegan.com




                                       7
Case 1:20-cv-00984-WCB Document 311 Filed 02/07/24 Page 24 of 57 PageID #: 12802




                   EXHIBIT C
Case 1:20-cv-00984-WCB Document 311 Filed 02/07/24 Page 25 of 57 PageID #: 12803




                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF DELAWARE

  PROLITEC INC.,                                 )
                                                 )
                   Plaintiff,                    )
                                                 )
           v.                                    )       CIVIL ACTION NO. 20-984-RGA
                                                 )
  SCENTAIR TECHNOLOGIES, LLC,                    )
                                                 )
                   Defendant.                    )
                                                 )


                PLAINTIFF/COUNTERCLAIM DEFENDANT PROLITEC INC.’S
                       SECOND AMENDED INITIAL DISCLOSURES

           Pursuant to Federal Rule of Civil Procedure 26(a)(1) and the Court’s August 17, 2022

  Amended Scheduling Order (D.I. 72), Plaintiff Prolitec Inc. (“Prolitec”) hereby submits the

  following amended initial disclosures in connection with both Prolitec’s claims and ScentAir’s

  counterclaims in the above-captioned action.

           Prolitec makes these amended initial disclosures based upon information reasonably

  known to Prolitec as of the date hereof, and based on information obtained to date and reasonably

  available to Prolitec. Prolitec’s investigation is ongoing and, accordingly, Prolitec reserves the

  right to modify, amend, or otherwise supplement these disclosures, pursuant to Rule 26(e) of the

  Federal Rules of Civil Procedure, as additional information becomes available or appreciated

  during the course of this lawsuit or in the event that one or more of these witnesses becomes

  unavailable and others must be substituted.

           Prolitec’s disclosures are made without waving: (1) the right to object on the grounds of

  competency, privilege, relevance and materiality, hearsay or any other proper ground, to the use

  of any such information, for any purpose, in whole or in part, in any subsequent proceeding in this

  action or any other action; and (2) the right to object on any and all grounds, at any time, to any


 ME1 44534677v.1                                     2
Case 1:20-cv-00984-WCB Document 311 Filed 02/07/24 Page 26 of 57 PageID #: 12804



  other discovery request or proceeding involving or relating to the subject matter of these

  disclosures.

      A. PERSONS HAVING KNOWLEDGE OF RELEVANT FACTS

           Prolitec identifies the following individuals likely to have discoverable information that

  Prolitec may use to support its claims or defenses, unless solely for impeachment. Individuals

  marked with a “*” should only be contacted through counsel for Prolitec:

          Names and Contact Information                         Description of Knowledge

   Matthew Ansley*                                     Executive Vice President and COO at Prolitec
                                                       believed to have knowledge about the
   Please contact only through counsel:                conception and reduction to practice of the
                                                       inventions claimed in U.S. Patent No.
   Marc C. Levy                                        9,162,004, U.S. Patent No. 9,480,767, and
   Syed M. Abedi                                       U.S. Patent No. 9,745,976 (collectively, “the
   Jessica Gritton                                     Prolitec Patents”) and the development,
   Tayah Woodard                                       testing, and properties of the claimed
   SEED IP LAW GROUP LLP                               inventions and Prolitec products.
   701 Fifth Avenue, Suite 5400
   Seattle, WA 98104
   Tel: (206) 622-4900
   MarcL@seedip.com
   SyedA@seedip.com
   Jessica.Gritton@seedip.com
   Tayah.Woodard@seedip.com

   Richard Weening*                                    Chairman and CEO at Prolitec believed to
                                                       have knowledge regarding Prolitec products,
   Please contact only through counsel:                technology, patenting, and other relevant
                                                       sales and market information.
   Marc C. Levy
   Syed M. Abedi
   Jessica Gritton
   Tayah Woodard
   SEED IP LAW GROUP LLP
   701 Fifth Avenue, Suite 5400
   Seattle, WA 98104
   Tel: (206) 622-4900
   MarcL@seedip.com
   SyedA@seedip.com
   Jessica.Gritton@seedip.com
   Tayah.Woodard@seedip.com


 ME1 44534677v.1                                   3
Case 1:20-cv-00984-WCB Document 311 Filed 02/07/24 Page 27 of 57 PageID #: 12805



   Nathan Sward*                              Director of Engineering at Prolitec believed to
                                              have knowledge about the conception and
   Please contact only through counsel:       reduction to practice of the inventions
                                              claimed in the Prolitec Patents and the
   Marc C. Levy                               development, testing, and properties of the
   Syed M. Abedi                              claimed inventions and Prolitec products.
   Jessica Gritton
   Tayah Woodard
   SEED IP LAW GROUP LLP
   701 Fifth Avenue, Suite 5400
   Seattle, WA 98104
   Tel: (206) 622-4900
   MarcL@seedip.com
   SyedA@seedip.com
   Jessica.Gritton@seedip.com
   Tayah.Woodard@seedip.com

   John Thurston Chandler                     Believed to have knowledge about the
   Charlotte, North Carolina                  conception and reduction to practice of the
                                              inventions claimed in the ScentAir Patents
                                              and the development, testing, and properties
                                              of the claimed inventions.




   Chad Alan Morton                           Believed to have knowledge about the
   Fort Mill, South Carolina                  conception and reduction to practice of the
                                              inventions claimed in the ScentAir Patents
                                              and the development, testing, and properties
                                              of the claimed inventions.




 ME1 44534677v.1                          4
Case 1:20-cv-00984-WCB Document 311 Filed 02/07/24 Page 28 of 57 PageID #: 12806




           Prolitec reserves the right to identify and call as witnesses at trial additional persons who

  become known to Prolitec and are knowledgeable regarding discoverable information that Prolitec

  may use to support its claims or defenses, provided such persons are known by or made known to

  ScentAir Technologies, LLC (“ScentAir”) in some manner during discovery, including, for

  example, ScentAir’s employees, agents, or attorneys who are likely to have discoverable

  information that Prolitec may use to support its claims or defenses, and any individuals named in

  ScentAir’s Initial Disclosures, as amended.

      B. DOCUMENTS, ELECTRONICALLY STORED INFORMATION, AND
         TANGIBLE THINGS

           Pursuant to Fed. R. Civ. P. 26(a)(1)(A)(ii), based on information reasonably available to

  Prolitec at this time, Prolitec describes below by category and location the following documents,

  electronically stored information, and tangible things that are within Prolitec’s possession, custody,

  or control, or are publicly available, and which Prolitec may use to support its claims or defenses,

  unless solely for impeachment:

      1. The Prolitec Patents.

      2. The prosecution history of each of the Prolitec Patents.
      3. Documents and/or electronically stored information evidencing the conception and
         reduction to practice of the inventions claimed in each of the Prolitec Patents.

      4. Documents and/or electronically stored information reporting test results and properties
         of the inventions claimed in each of the Prolitec Patents.

      5. Documents and/or electronically stored information relating to the title, assignment,
         transfer, licensing, and assertion of the Prolitec Patents.

      6. Documents and/or electronically stored information and tangible things relating to the
         infringement of the Prolitec Patents.

      7. Documents and/or electronically stored information relating to sales and marketing of
         Prolitec products and ScentAir products infringing the Prolitec Patents.

      8. Documents and/or electronically stored information relating to damages to Prolitec and lost
         profits related to Prolitec products.


 ME1 44534677v.1                                    5
Case 1:20-cv-00984-WCB Document 311 Filed 02/07/24 Page 29 of 57 PageID #: 12807



      9. Documents and/or electronically stored information evidencing the accused Prolitec
         products.

      10. Documents and/or electronically stored information and tangible things relating to
          noninfringement and invalidity of the ScentAir Patents.

      11. Documents and/or electronically stored information and tangible things relating to
          Prolitec’s defenses.

      C. COMPUTATION OF DAMAGES

           Pursuant to Fed. R. Civ. P. 26(a)(1)(A)(iii), Prolitec will rely on a damages expert to

  compute damages. Prolitec states that at this time, ScentAir has not provided sufficient detail or

  clarity as to the scope of its infringement and tortious conduct, and the actual amount of damages

  cannot be calculated without further discovery. Accordingly, the computation of damages will be

  deferred until the time for expert disclosures. Prolitec will produce or otherwise make available

  for inspection and copying the documents and/or other evidentiary material, not privileged or

  protected from disclosure, in its possession, custody, or control, on which its computation of

  damages is based. Prolitec reserves its right to challenge any damages calculation ScentAir offers

  and offer an opposing calculation.

      D. INSURANCE AGREEMENTS

           Pursuant to Fed. R. Civ. P. 26(a)(1)(A)(iv), Prolitec is unaware of any pertinent insurance

  agreements at this time. However, Prolitec reserves the right to supplement this disclosure if any

  pertinent insurance agreements are identified or determined to be relevant after further

  investigation.




 ME1 44534677v.1                                    6
Case 1:20-cv-00984-WCB Document 311 Filed 02/07/24 Page 30 of 57 PageID #: 12808



  Dated: March 31, 2023                    MCCARTER & ENGLISH, LLP

  OF COUNSEL:                              /s/ Alexandra M. Joyce
                                           Brian R. Lemon (#4730)
  Marc C. Levy                             Alexandra M. Joyce (#6423)
  Syed M. Abedi                            405 N. King St., 8th Floor
  Jessica Gritton                          Wilmington, DE 19801
  Tayah Woodard                            (302) 984-6300
  SEED IP LAW GROUP LLP                    blemon@mccarter.com
  701 Fifth Avenue, Suite 5400             ajoyce@mccarter.com
  Seattle, WA 98104
  Tel: (206) 622-4900                      Counsel for Plaintiff Prolitec Inc.
  MarcL@seedip.com
  SyedA@seedip.com
  Jessica.Gritton@seedip.com
  Tayah.Woodard@seedip.com




 ME1 44534677v.1                       7
Case 1:20-cv-00984-WCB Document 311 Filed 02/07/24 Page 31 of 57 PageID #: 12809




                   EXHIBIT D
Case 1:20-cv-00984-WCB Document 311 Filed 02/07/24 Page 32 of 57 PageID #: 12810




                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE


  PROLITEC INC.,
                                                        C.A. No. 20-984-RGA
                           Plaintiff,

           v.

  SCENTAIR TECHNOLOGIES, LLC,

                           Defendant.




   PLAINTIFF PROLITEC’S THIRD SUPPLEMENTAL RESPONSE TO DEFENDANT
  SCENTAIR TECHNOLOGIES, LLC’S FIRST SET OF INTERROGATORIES (NOS. 1-10)

         Pursuant to Fed. R. Civ. P. 26 and 34, and the Local Rules of the U.S. District Court for

 the District of Delaware, including Civil L.R. 26 and Civil L.R. 34, Plaintiff Prolitec Inc.

 (“Prolitec” or “Plaintiff”) hereby provides its third supplemental response to Defendant ScentAir

 Technologies, LLC’s (“ScentAir” or “Defendant”) First Set of Interrogatories.

                                        GENERAL OBJECTIONS

         The following General Objections and statement shall be applicable to, and shall be

 included in, Plaintiff’s response to each interrogatory, whether or not mentioned expressly in any

 particular response. Plaintiff does not waive any of its General Objections by stating specific

 objections to any particular interrogatory. Plaintiff reserves the right to assert additional objections

 as it deems necessary and/or appropriate.

         1.        Prolitec objects to each and every discovery request, instruction and definition, to

 the extent it seeks information that is subject to the attorney-client privilege or any other applicable

 privilege, constitutes attorney work-product, or is otherwise immune from discovery under the

 Federal Rules of Civil Procedure. Any inadvertent production by Prolitec of any document,


                                                    1
 ME1 45328123v.1
Case 1:20-cv-00984-WCB Document 311 Filed 02/07/24 Page 33 of 57 PageID #: 12811




 information, or thing protected from disclosure by the attorney-client privilege, work-product

 immunity, and/or other applicable privilege or immunity is unintentional, and shall not be

 construed as a waiver of any applicable objection or privilege.

         2.        Prolitec objects to each interrogatory, instruction and definition, to the extent it

 calls for the disclosure of confidential information of any third party that is in the possession of

 Prolitec pursuant to confidentiality and non-disclosure restrictions imposed by contract or

 applicable law.

         3.        Prolitec objects to each interrogatory, instruction and definition, to the extent it

 seeks information that is not within the possession, custody, or control of Prolitec.

         4.        Prolitec objects to each interrogatory, instruction and definition, to the extent it

 seeks information beyond what is available to Prolitec at present from a reasonable search of its

 own files and from a reasonable inquiry of its present employees.

         5.        Prolitec objects to each interrogatory, instruction and definition, to the extent it

 purports to impose obligations on Prolitec that exceed its obligations under the Federal Rules of

 Civil Procedure, the Local Rules of the District, any orders issued by the Court in this case, any

 agreements or stipulations between the parties, or any other applicable rule of law.

         6.        Prolitec objects to each interrogatory, instruction and definition, to the extent it

 seeks the disclosure of information that is not relevant to any party’s claim or defense, not

 proportional to the needs of the case, and/or not likely to lead to the discovery of admissible

 evidence.

         7.        Prolitec objects to these interrogatories, instructions and definitions, to the extent

 they seek information that is unreasonably cumulative or duplicative, or that is obtainable from

 some other source more convenient, less expensive, or less burdensome or that Defendant has had



                                                     2
 ME1 45328123v.1
Case 1:20-cv-00984-WCB Document 311 Filed 02/07/24 Page 34 of 57 PageID #: 12812




 an opportunity to seek from another source, or where the burden or expense to Prolitec of the

 proposed discovery outweighs its likely benefit to Defendant, taking into account the needs of the

 case, the parties’ resources, the importance of the issues at stake in the case, the importance of the

 proposed discovery in resolving the issues, and the availability of the information to Defendant

 from other sources.

         8.        Prolitec objects to each interrogatory, including all applicable instructions and

 definitions, to the extent that it is vague, ambiguous, and does not identify with particularity the

 information sought.

         9.        Prolitec objects to each interrogatory, including the instructions and definitions

 accompanying it, to the extent it requests Prolitec to identify “all” information, documents, and/or

 things relating to a particular subject, on the ground that such requests are overly broad or unduly

 burdensome.

         10.       Prolitec objects to each interrogatory, instruction and definition, to the extent that

 it is unreasonably unlimited in time and/or scope.

         11.       Prolitec objects to each interrogatory, instruction and definition, to the extent that

 it prematurely seeks expert discovery.

         12.       Prolitec objects to each interrogatory, instruction and definition, to the extent that

 it calls for any legal conclusions.

         13.       Prolitec objects to each interrogatory, including the instructions and definitions

 accompanying it, as compound to the extent it contains multiple subparts or attempts to improperly

 combine multiple parts into one request.

         14.       Prolitec objects to each interrogatory to the extent that it prematurely seeks the

 production of documents or information that constitute electronically stored information (“ESI”)



                                                     3
 ME1 45328123v.1
Case 1:20-cv-00984-WCB Document 311 Filed 02/07/24 Page 35 of 57 PageID #: 12813




 prior to an agreement by the parties on terms and procedures governing the production of ESI.

 Prolitec will produce such documents or information only in accordance with and under the terms

 of an ESI Order that is stipulated to by the parties and entered by the Court.

         15.       In responding to these interrogatories, Prolitec does not concede that any of the

 information or documents sought or provided is relevant, material, admissible in evidence,

 reasonably calculated to lead to the discovery of admissible evidence, or proportional to the needs

 of the case.

         16.       Prolitec’s responses to these interrogatories in no way constitute acquiescence or

 agreement to any definition proposed by Defendant.

         17.       To the extent Prolitec responds to any interrogatory by stating that responsive

 documents will be produced, such statement does not constitute a representation that such

 documents exist but only that a reasonable search for such documents has been or will be made

 and that any relevant, responsive, non-privileged documents that Prolitec locates will be produced.

         18.       Prolitec’s responses to these interrogatories are all made subject to and without

 waiver of these General Objections. To the extent that Prolitec cites or repeats a particular General

 Objection in a specific response to a particular interrogatory, Prolitec does so because it believes

 that the General Objection is particularly relevant to the request but not to the exclusion of any

 other General Objections.

         19.       The specific responses set forth below are for the purposes of discovery only, and

 Prolitec neither waives nor intends to waive, but rather expressly reserves, any and all objections

 to the relevance, competence, materiality, privilege, admissibility, or use at any hearing of any

 information, documents, or things produced, identified, or referred to herein, or to the introduction

 of any evidence at any hearing relating to the subjects covered by such responses.



                                                    4
 ME1 45328123v.1
Case 1:20-cv-00984-WCB Document 311 Filed 02/07/24 Page 36 of 57 PageID #: 12814




         20.       Discovery and investigation in this case are on-going. Prolitec reserves the right

 to supplement or amend its responses to these discovery requests, if and when more information

 becomes available.

         21.       Prolitec objects to each interrogatory, instruction, and definition, to the extent that

 it conflicts or is inconsistent with, or purports to impose obligations on Prolitec that exceed its

 obligations under, the Federal Rules of Civil Procedure, the Local Rules of the District of

 Delaware, any orders issued by the Court in this case, any agreements or stipulations between the

 parties, or any other applicable rule of law.




                                                      5
 ME1 45328123v.1
Case 1:20-cv-00984-WCB Document 311 Filed 02/07/24 Page 37 of 57 PageID #: 12815




                                       INTERROGATORIES



 INTERROGATORY NO. 1:

         For each claim of the Prolitec Asserted Patents that Prolitec believes is infringed by

 ScentAir, set forth the full factual basis and explanation for that claim’s conception, first

 constructive reduction to practice, first actual reduction to practice, and any diligence in reducing

 the alleged invention to practice.

 RESPONSE:

         Prolitec objects to this Interrogatory as seeking information irrelevant to this litigation.

 Given that the applications for Prolitec’s Asserted Patents were filed after March 16, 2013, their

 priority dates can be no earlier than the date they were filed. See 35 U.S.C. § 100(i)(1). Thus, any

 information relating to the reduction to practice—constructive or actual—of the Prolitec Asserted

 Patents is irrelevant. Subject to and without waiving the foregoing objection, Prolitec states as

 follows:

         With respect to the ‘004 Patent, the infringed claims were actually reduced to practice in

 the form of a functional prototype at least as early as December 10, 2013. Those involved include

 Nathan Sward, Matthew Ansley, and former employee Andy Williams. With respect to the ‘976

 Patent, the infringed claims were actually reduced to practice in the form of a functional
 prototype at least as early as December 10, 2013. Those involved include Nathan Sward,

 Matthew Ansley, and former employee Andy Williams. With respect to the ‘767 Patent, the

 infringed claim was actually reduced to practice in the form of a functional prototype at least as

 early as August 2015. Those involved include Nathan Sward, Matthew Ansley, and former

 employee Andy Williams.




                                                   6
 ME1 45328123v.1
Case 1:20-cv-00984-WCB Document 311 Filed 02/07/24 Page 38 of 57 PageID #: 12816




 INTERROGATORY NO. 2:

           For each claim of the Prolitec Asserted Patents that Prolitec believes is infringed by

  ScentAir, describe in detail any disclosures of the subject matter thereof prior to the filing date

  of the Prolitec Asserted Patents, including but not limited to the dates and nature of such

  disclosures and the persons involved with such disclosures, and identify all documents relating

  thereto.

 RESPONSE:

         Prolitec objects to this Interrogatory to the extent it seeks information protected by the

 attorney-client privilege and/or attorney work product doctrine. Subject to and without waiving

 the foregoing objection, Prolitec states it made no disclosures of the subject matter of the Prolitec

 Asserted Patents before their filing dates.



 INTERROGATORY NO. 3:

           For each ScentAir Accused Product, describe in detail the circumstances under which

  Prolitec first became aware of that product, and the investigation undertaken by or on behalf of

  Prolitec to support its allegation of infringement of each claim of the Prolitec Asserted Patents,

  including without limitation, an identification of every person or entity that supervised, assisted,

  participated in, or provided information concerning the investigation, a description of every

  physical inspection of each ScentAir Accused Product and an identification of the date(s) of and

  individual(s) involved in each such inspection, a description of all analyses of and tests

  performed on each ScentAir Accused Product and an identification of the date(s) of and

  individual(s) involved in each such analysis and test, an identification of all documents and

  things reviewed or relied upon in connection with the investigation, and a description of the

  results and/or conclusions of the investigation.




                                                     7
 ME1 45328123v.1
Case 1:20-cv-00984-WCB Document 311 Filed 02/07/24 Page 39 of 57 PageID #: 12817




 RESPONSE:

         Prolitec objects to this Interrogatory to the extent it seeks information protected by the

 attorney-client privilege and/or attorney work product doctrine. Subject to and without waiving

 the foregoing objection, Prolitec states that it became aware of the ScentAir Accused

 Instrumentality on or about April 2, 2020. On that date, Executive Vice President Roger

 Bensinger mentioned ScentAir’s launch of the Accused Instrumentality during a call with other

 members of Prolitec’s management team. In April 2020, Nathan Sward and Matthew Ansley also

 viewed a YouTube video posted by ScentAir entitled “ScentAir Breeze How-To: Replacing Your
 Fragrance Cartridge” (available at https://www.youtube.com/watch?v= 6x3W9W9KYEw) in

 which the Accused Instrumentality is taken apart. Prolitec obtained and inspected the Accused

 Instrumentality in August 2020. Based on that inspection, former employee Max Crabb created

 a competitive analysis dated September 1, 2020, which has previously been produced as

 PROLITEC00008094–8096.



 INTERROGATORY NO. 4:

         Set forth the full factual, legal and numeric basis for Prolitec’s contention that it is entitled

 to damages, including the theory of damages (i.e., reasonable royalty, lost profits, willfulness,

 etc.) that Prolitec intends to advance and/or rely upon for each asserted claim of the Prolitec
 Asserted Patents, the methodology Prolitec intends to advance or will rely on to calculate

 damages under that theory, and the amount of damages Prolitec claims it is entitled to recover

 for each claim of the Prolitec Asserted Patents.

 RESPONSE:

         Prolitec objects to this Interrogatory to the extent it prematurely seeks information to be

 proffered through expert discovery or testimony, which Prolitec has no duty to produce prior to

 the opening of the expert discovery period and applicable deadlines set forth in the Court’s

 Scheduling Order. Subject to and without waiving the foregoing objection, Prolitec states that its



                                                     8
 ME1 45328123v.1
Case 1:20-cv-00984-WCB Document 311 Filed 02/07/24 Page 40 of 57 PageID #: 12818




 answer to this interrogatory requires the evaluation of its damages expert, Mr. Robert Vigil, who

 has been disclosed to ScentAir. Prolitec will supplement this interrogatory response after Mr.

 Vigil completes his work and provides his report of his opinions and the facts and other grounds

 supporting them.

 SUPPLEMENTAL RESPONSE:

         Subject to and without waiving the foregoing objection, and in addition to the above

 response, Prolitec states that under the Patent Act it is entitled to no less than a reasonable royalty

 for ScentAir’s use of the Prolitec Asserted Patents plus interest and costs fixed by the court. Thus,
 Prolitec is entitled to no less than a reasonable royalty for ScentAir’s use of the Prolitec patented

 inventions. The determination of what constitutes a reasonable royalty in this case will be

 assessed by Prolitec’s damages expert using one or more accepted frameworks, including but not

 limited to the income approach, market approach, or cost approach. The reasonable royalty

 determination will also be assessed in light of the Georgia Pacific factors, including but not

 limited to, Prolitec’s long history and policy of not licensing its patented technology to its

 competitors; the highly competitive relationship between Prolitec and ScentAir; ScentAir’s

 collection of revenue from infringing Breeze systems; the value of the patented invention to

 Prolitec in generating sales of non-patented items; the utility and advantages of Prolitec’s

 patented technology over the prior art; the benefits of Prolitec’s products practicing the Prolitec

 Asserted Patents; and the popularity and commercial success of Prolitec’s products practicing

 the Prolitec Asserted Patents.

         Pursuant to Federal Rule of Civil Procedure 33(d), information requested by this

 Interrogatory may be found in certain documents that the parties have produced in this case,

 including but not limited to:

                  SCENTAIR_00014691

                  PROLITEC00001519–1520

                  PROLITEC00014720

                  PROLITEC00001522

                                                    9
 ME1 45328123v.1
Case 1:20-cv-00984-WCB Document 311 Filed 02/07/24 Page 41 of 57 PageID #: 12819




                  PROLITEC00001523

                  PROLITEC00001524

                  PROLITEC00008295–08300

                  PROLITEC00033150–33196

                  PROLITEC00033778–33832

                  PROLITEC00040873–40934

                  PROLITEC00008313–08315

                  PROLITEC00008290–08294
                  PROLITEC00008505–08533

         Prolitec will supplement its response to this interrogatory after Prolitec’s damages expert

 completes his analysis and report regarding Prolitec’s entitlement to damages in this case.

 SECOND SUPPLEMENTAL RESPONSE:

         Subject to and without waiving the foregoing objection, Prolitec incorporates by

 reference the Expert Report of Robert L. Vigil, Ph.D (June 13, 2023) including all exhibits and

 documents referenced therein that was served on ScentAir on June 1, 2023.



 INTERROGATORY NO. 5:

           Identify all sources and amounts of any profits, royalties or receivables Prolitec received
  from the development, sale, use, and license of the Prolitec Asserted Patents.

 RESPONSE:

         Prolitec states that, other than profits and receivables from the sale of Prolitec products

 practicing the Prolitec Asserted Patents, it has received no such profits, royalties, or receivables.

 SUPPLEMENTAL RESPONSE:

         In addition to the above response, with respect to Prolitec products using the Prolitec

 Asserted Patents, Prolitec responds to this interrogatory in accordance with Rule 33(d) by




                                                   10
 ME1 45328123v.1
Case 1:20-cv-00984-WCB Document 311 Filed 02/07/24 Page 42 of 57 PageID #: 12820




 referring to the documents previously produced as PROLITEC00014720, PROLITEC00001522,

 PROLITEC00001523, and PROLITEC00001524.

 SECOND SUPPLEMENTAL RESPONSE:

         Subject to and without waiving the foregoing objection, Prolitec incorporates by

 reference the Expert Report of Robert L. Vigil, Ph.D (June 13, 2023) including all exhibits and

 documents referenced therein that was served on ScentAir on June 1, 2023.



 INTERROGATORY NO. 6:

           If Prolitec contends that ScentAir had actual notice of any alleged infringement of the

  Prolitec Asserted Patents before the filing of this case, set forth the full factual basis for such a

  contention.

 RESPONSE:

         At this time, Prolitec does not contend that ScentAir had actual notice of its infringement

 of the Prolitec Asserted Patents before the initial filing date of this case. However, Prolitec

 reiterates its right to supplement these Responses in the event that further discovery provides

 additional information. See General Objections ¶¶ 14, 20.



 INTERROGATORY NO. 7:

         Set forth the full factual basis and explanation for Prolitec’s contention that the Prolitec

 Asserted Patents are not invalid under 35 U.S.C. §§ 102, 103, and 112.

 RESPONSE:

         Prolitec objects to this Interrogatory to the extent it prematurely seeks information to be

 proffered through expert discovery or testimony, which Prolitec has no duty to produce prior to




                                                   11
 ME1 45328123v.1
Case 1:20-cv-00984-WCB Document 311 Filed 02/07/24 Page 43 of 57 PageID #: 12821




 the opening of the expert discovery period and applicable deadlines set forth in the Court’s

 Scheduling Order.

         Prolitec further objects to this Interrogatory to the extent it impermissibly shifts the

 burden of proof of invalidity from ScentAir onto Prolitec. See 35 U.S.C. § 282. Prolitec interprets

 this interrogatory as requiring Prolitec to identify the full factual basis and explanation why

 ScentAir has failed to prove by clear and convincing evidence that the claims-in-suit are invalid,

 including why ScentAir fails to prove by clear and convincing evidence how or why a person of

 ordinary skill in the art would have combined the asserted prior art references to arrive at the
 claims-in-suit at the time of the claimed inventions.

         With this limit and interpretation, to date, and for the reasons set forth in Prolitec’s March

 19, 2023, letter regarding ScentAir’s Amended Final Invalidity Contentions, ScentAir has not

 set forth a cognizable argument that Prolitec’s Asserted Patents are invalid. By way of example,

 with respect to prior art and anticipation or obviousness, ScentAir has not met its burden to show

 that the products it contends render the claims-in-suit invalid include each and every claim

 element, including by its failure to produce or make available products, such as the ScentDirect

 or ScentStream products, it claims were available prior to the Asserted Patents’ priority dates.

         By way of further example, ScentAir has not adequately identified the “insert” in

 Prolitec’s AirQ products that it contends practices the relevant claims in the Prolitec Asserted

 Patents; “a cap assembly including a cap, a venturi insert, and a base attached together without

 welds or separate fasteners to define an air inlet chamber on one side of the venturi insert …; and

 nor has it adequately identified the elements of the Air Aroma and Lampe Berger/Maison

 Berger/Air Berger products that it contends practice the relevant claims in the Prolitec Asserted

 Patents.

         By way of further example, ScentAir has not adequately shown that the claims-in-suit of

 the ‘767 Patent are anticipated or rendered obvious in view of the asserted prior art references.

 Each of the references, including Benalikhoudja ‘090, Feuillard, and Poncelet, fails to disclose

 or teach each and every claim element, as acknowledged by ScentAir itself in its “Amended Final

                                                   12
 ME1 45328123v.1
Case 1:20-cv-00984-WCB Document 311 Filed 02/07/24 Page 44 of 57 PageID #: 12822




 Invalidity Charts” (dated: 03/10/2023). Further, ScentAir has not met its burden by adequately

 showing that these deficiencies are cured by the combination of the references asserted by

 ScentAir to render the claims-in-suit obvious. And, finally, ScentAir is estopped from asserting

 prior art in support of any ground of invalidity of the claims of the ‘004 and ‘976 Patents that

 ScentAir raised or reasonably could have raised during the parties’ inter partes review

 proceedings. See generally ScentAir Techs., LLC v. Prolitec Inc., IPR2021-00012; ScentAir

 Techs., LLC v. Prolitec Inc., IPR2021-00014.

         With respect to indefiniteness and inadequate disclosure, ScentAir’s blanket statement in
 its Amended Final Invalidity Contentions that certain claims “have no meaning to those of skill

 in the art, are not adequately defined in the patent specification, lack proper antecedent basis,

 and/or are otherwise indefinite” fails to place Prolitec on notice of the deficiencies in its patent

 claims. It also falls far below the standard of proof necessary to rebut the Prolitec Asserted

 Patents’ presumption of validity. See BASF Corp. v. Johnson Matthey Inc., 875 F.3d 1360, 1365

 (Fed. Cir. 2017) (requiring that indefiniteness be proven by clear and convincing evidence). The

 same is true of ScentAir’s conclusory statement that certain “claim terms lack written description

 support and/or an enabling disclosure.” Thus, ScentAir has not met its burden at this stage, and

 Prolitec is not obligated to present arguments or evidence to bolster the presumption of validity

 to which its Asserted Patents are entitled.



 INTERROGATORY NO. 8:

           If Prolitec contends that any product(s) other than the ScentAir Accused Products

  practices any of the claims of the Prolitec Asserted Patents, for each such claim and each such

  product, set forth the full factual basis for such a contention.

 RESPONSE:

         Prolitec states that its Aera and Aera Mini products practice at least claims 17 and 23 of

 the ‘004 Patent and claims 15, 16, 17, and 22 of the ‘976 Patent. Prolitec further states that its


                                                   13
 ME1 45328123v.1
Case 1:20-cv-00984-WCB Document 311 Filed 02/07/24 Page 45 of 57 PageID #: 12823




 ScentAir produced documents related to the system after the close of fact discovery and only

 after specific demands from Prolitec. At this time, Prolitec is unable to determine whether

 additional relevant information and documents are being withheld by ScentAir.


  Dated: June 22, 2023                              MCCARTER & ENGLISH, LLP

  OF COUNSEL:                                       /s/ Alexandra M. Joyce
                                                    Brian R. Lemon (#4730)
  Marc C. Levy                                      Alexandra M. Joyce (#6423)
  Syed M. Abedi                                     Renaissance Centre
  Jessica Gritton                                   405 N. King Street, 8th Floor
  Tayah Woodard                                     Wilmington, DE 19801
  SEED IP LAW GROUP LLP                             Tel: (302) 984-6300
  701 Fifth Avenue, Suite 5400                      blemon@mccarter.com
  Seattle, WA 98104                                 ajoyce@mccarter.com
  Tel: (206) 622-4900
  MarcL@seedip.com                                  Counsel for Plaintiff Prolitec Inc.
  SyedA@seedip.com
  Jessica.Gritton@seedip.com
  Tayah.Woodard@seedip.com




                                               20
 ME1 45328123v.1
Case 1:20-cv-00984-WCB Document 311 Filed 02/07/24 Page 46 of 57 PageID #: 12824




                   EXHIBIT E
Case 1:20-cv-00984-WCB Document 311 Filed 02/07/24 Page 47 of 57 PageID #: 12825



                                                                             Page 1

  1                     IN THE UNITED STATES DISTRICT COURT
  2                          FOR THE DISTRICT OF DELAWARE
             ---------------------------------------------------
  3
             PROLITEC INC.,
  4
                                  Plaintiff/Counterclaim-
  5                               Defendant,
  6              -vs-                                  Case No. 20-984-RGA
  7          SCENTAIR TECHNOLOGIES, LLC,
  8                               Defendant/Counterclaim-
                                  Plaintiff.
  9
             ---------------------------------------------------
 10
 11                               ATTORNEYS' EYES ONLY
 12
 13                           Video Examination of NATHAN SWARD,
 14          taken at the instance of the Defendant, under and
 15          pursuant to the Delaware Rules of Civil Procedure,
 16          before Dawn M. Lahti, a Certified Realtime Reporter,
 17          Registered Professional Reporter and Notary Public
 18
 19          in and for the State of Wisconsin, at Andrus
 20
 21          Intellectual Property Law, 790 North Water Street,
 22
 23          Milwaukee, Wisconsin, on May 4, 2023, commencing at
 24
 25          9:44 a.m. and concluding at 4:31 p.m.

                                   Veritext Legal Solutions
                 215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:20-cv-00984-WCB Document 311 Filed 02/07/24 Page 48 of 57 PageID #: 12826



                                                                         Page 2

  1                                      A P P E A R A N C E S
  2
              SEED IP LAW GROUP LLP, by
  3           MR. MARC C. LEVY
              701 Fifth Avenue, Suite 5400
  4           Seattle, Washington 98104
              appeared on behalf of the Plaintiff.
  5
  6           CROWELL & MORING LLP, by
              MR. JOSHUA B. POND
  7           MR. RYAN FITZGERALD
              1001 Pennsylvania Avenue NW
  8           Washington, DC 20004
              appeared on behalf of the Defendant.
  9
10
11                                                  * * * * *
12                                      A L S O         P R E S E N T
13            Mr. Steven Troncone, videographer
14
15
16
17
18
19
20
21
22
23
24
25

                                   Veritext Legal Solutions
                 215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:20-cv-00984-WCB Document 311 Filed 02/07/24 Page 49 of 57 PageID #: 12827



                                                                         Page 3

 1                                        * * * * *
 2                                        I N D E X
 3           Examination:                                                    Page
 4           BY MR. POND                                                        4
 5
 6
 7
 8
 9
10
11
12           Exhibits Identified:                                            Page
13
             Exhibit 1       Notice of Deposition                                 15
14           Exhibit 2       Amended Notice of Deposition                         17
             Exhibit 3       LinkedIn Page                                        19
15           Exhibit 4       '004 Patent                                          59
             Exhibit 5       '976 Patent                                          59
16           Exhibit 6       Plaintiff Prolitec's Supplemental                    66
                             Response to Defendant ScentAir
17                           Technologies First Set of
                             Interrogatories Nos. 1-10
18           Exhibit 7       '767 Patent                                          69
             Exhibit 8       Project Aura, Delta Concept                          80
19                           Review
             Exhibit 9       Lab Notebook                                      92
20           Exhibit 10      Prolitec Images                                  106
             Exhibit 11      ScentAir Breeze Info                             110
21
22
23           Disposition of Original Exhibits:
24           Attached to Original Transcript.
25

                                   Veritext Legal Solutions
                 215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:20-cv-00984-WCB Document 311 Filed 02/07/24 Page 50 of 57 PageID #: 12828



                                                                             Page 4

  1                            TRANSCRIPT OF PROCEEDINGS

  2                            VIDEO OPERATOR:         We are now on the

  3               video record.       Today is May 4, 2023.           The time

  4               is approximately 9:44 a.m. Central time.

  5                            We are here in the matter of

  6               Prolitec, Incorporated versus ScentAir

  7               Technologies, LLC.         We are here to take the

  8               30(b)(6) deposition of Nathan Sward.

  9                            Will counsel please identify

 10               themselves for the record.

 11                            MR. POND:      Joshua Pond of the firm

 12               Crowell & Moring on behalf of

 13               defendant/counterclaimant ScentAir, and with me

 14               today is my colleague, Ryan Fitzgerald.

 15                            MR. LEVY:      Marc Levy with Seed IP Law

 16               Group for the Plaintiff, Prolitec.

 17                            NATHAN SWARD, called as a witness

 18               herein, having been first duly sworn on oath,

 19               was examined and testified as follows:

 20                                     EXAMINATION

 21         BY MR. POND:

 22         Q     Good morning, Mr. Sward.

 23         A     Good morning.

 24         Q     Could you state your full name and residential

 25               address for the record.

                                   Veritext Legal Solutions
                 215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:20-cv-00984-WCB Document 311 Filed 02/07/24 Page 51 of 57 PageID #: 12829



                                                                             Page 5

  1         A     Nathan Sward,

  2                                     .

  3         Q     And could you tell us your current title and

  4               employer for the record?

  5         A     Director of engineering, Prolitec, Inc.

  6         Q     Have you ever been deposed before, Mr. Sward?

  7         A     I have not.

  8         Q     Okay.    So I'm sure your counsel may well have

  9               gotten you ready, but I'll just emphasize a few

 10               basic rules if that's okay.

 11                                   So if you don't understand any

 12               of my questions, please let me know, otherwise

 13               I'll assume you understand the question

 14               particularly with any hypothetical questions.

 15                                   Does that make sense?

 16         A     Yes.

 17         Q     We've got to verbalize our questions and

 18               answers for a clean record, and we'll refrain

 19               from nodding or head shaking instead of

 20               verbalizing, if that makes sense.

 21         A     It does.

 22         Q     If while answering a question, Mr. Sward, you

 23               think of a document that may help you answer,

 24               tell us, and we'll try to get the document for

 25               you, okay?

                                   Veritext Legal Solutions
                 215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:20-cv-00984-WCB Document 311 Filed 02/07/24 Page 52 of 57 PageID #: 12830



                                                                        Page 12

  1         A     No, not generally.         I think once or twice I've

  2               been asked to prepare some slides on product

  3               roadmap, but that's the extent of it.

  4         Q     All right.      So turning back to preparation for

  5               this deposition and broadening to participation

  6               in preparing for the case, again, not asking

  7               for privileged information, but Mr. Ansley, did

  8               you help prepare any interrogatory responses?

  9         A     Nathan Sward.

 10         Q     I'm sorry, Mr. Sward.          I'm getting ahead of

 11               myself.

 12         A     Did I help prepare?         Is this under privilege?

 13                            MR. LEVY:      You can state whether or

 14               not you did help prepare interrogatory

 15               responses yes or no.

 16                            THE WITNESS:       Okay.     Yes.

 17         BY MR. POND:

 18         Q     Do you recall which ones, what the topic was?

 19         A     The topic of -- it was technology ones.                    Not

 20               the business-related ones.

 21         Q     Did you help gather documents for the

 22               litigation, Mr. Sward?

 23         A     I cooperated with the sharing, of course, all

 24               my emails and the -- all the content of our

 25               network drive that was requested.

                                   Veritext Legal Solutions
                 215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:20-cv-00984-WCB Document 311 Filed 02/07/24 Page 53 of 57 PageID #: 12831



                                                                        Page 38

  1         BY MR. POND:

  2         Q     And how long did the development process take

  3               from the start in 2012 through first offer for

  4               sale?

  5         A     Well, the first offer for sale of Aera was in

  6               2016, so there was about four years of work

  7               involved.

  8         Q     And we've seen mention of a Project Aura.                  Is

  9               that what led to the Aera?

 10         A     Project Aura was somewhere between a code name

 11               for Aera and an early draft brand name.

 12         Q     And Aura did result in Aera ultimately?

 13                            MR. LEVY:      Object to the form.

 14                            THE WITNESS:       Yes.

 15         BY MR. POND:

 16         Q     So you netted the first offer for sale in 2016.

 17               Was that online?

 18         A     Yes.    That was direct to consumer through our

 19               website.     I'm pretty sure.          I had limited

 20               involvement with that side of the business.

 21                            MR. LEVY:      And I'll just note again

 22               that that is -- that is a topic reserved for a

 23               different witness for 30(b)(6).

 24         BY MR. POND:

 25         Q     And in your impression as engineering lead, how

                                   Veritext Legal Solutions
                 215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:20-cv-00984-WCB Document 311 Filed 02/07/24 Page 54 of 57 PageID #: 12832



                                                                        Page 39

  1               was the Aera received in the market?

  2         A     Slowly.     So, again, I had limited visibility in

  3               the numbers, but the -- I don't think we --

  4               well, yeah, we -- it was slow.             The first year

  5               we didn't sell definitely not as many as we had

  6               hoped, but it increased each year.

  7         Q     And what kinds of things did you -- what kind

  8               of feedback did you get as head of engineering

  9               on the product from consumers?

 10         A     I helped analyze the quality data, so I knew

 11               returns.     So most of my knowledge was things

 12               that had gone wrong --

 13         Q     Um-hum.

 14         A     -- such as my work, so issues with the pump or

 15               the gluing process or aesthetic defects.                   Most

 16               of the reviews that I read on the website

 17               were -- if there was not a defect, the reviews

 18               were pretty positive.

 19         Q     And what do you mean by "gluing"?

 20         A     The top cover of the housing.             It's metal glued

 21               on the plastic.

 22         Q     And is that for the device overall or the

 23               cartridge?

 24         A     Device.

 25         Q     What -- okay.       So we've been talking about the

                                   Veritext Legal Solutions
                 215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:20-cv-00984-WCB Document 311 Filed 02/07/24 Page 55 of 57 PageID #: 12833



                                                                       Page 139

  1         STATE OF WISCONSIN          )
                                        ) SS:
  2         COUNTY OF MILWAUKEE         )
  3
  4                            I, Dawn M. Lahti, RPR, CRR and Notary
  5               Public in and for the State of Wisconsin, do
  6               hereby certify that the preceding deposition
  7               was recorded by me and reduced to writing under
  8               my personal direction.
  9                            I further certify that I am not a
 10               relative or employee or attorney or counsel of
 11               any of the parties, or a relative or employee
 12               of such attorney or counsel, or financially
 13               interested directly or indirectly in this
 14               action.
 15                            In witness whereof, I have hereunder
 16               set my hand and affixed my seal of office on
 17               this 11th day of May, 2023.
 18
 19
 20                       <%26890,Signature%>
 21
                                      _______________________________
 22                                         DAWN M. LAHTI, RPR/CRR
 23                                             Notary Public
                                   In and for the State of Wisconsin
 24
            My commission expires April 16, 2024
 25

                                   Veritext Legal Solutions
                 215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:20-cv-00984-WCB Document 311 Filed 02/07/24 Page 56 of 57 PageID #: 12834



                                                                         Page 140

  1      Marc Levy, Esq.

  2      marcl@seedip.com

  3                                     May 15th, 2023

  4      RE:       Prolitec Inc. v. Scentair Technologies LLC

  5            5/4/2023, Nathan Sward (#5889618)

  6            The above-referenced transcript is available for

  7      review.

  8            Within the applicable timeframe, the witness should

  9      read the testimony to verify its accuracy. If there are

 10      any changes, the witness should note those with the

 11      reason, on the attached Errata Sheet.

 12            The witness should sign the Acknowledgment of

 13      Deponent and Errata and return to the deposing attorney.

 14      Copies should be sent to all counsel, and to Veritext at

 15      cs-midatlantic@veritext.com.

 16

 17       Return completed errata within 30 days from

 18    receipt of testimony.

 19        If the witness fails to do so within the time

 20    allotted, the transcript may be used as if signed.

 21

 22                          Yours,

 23                         Veritext Legal Solutions

 24

 25

                                     Veritext Legal Solutions
                   215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 1:20-cv-00984-WCB Document 311 Filed 02/07/24 Page 57 of 57 PageID #: 12835




                                  CERTIFICATE OF SERVICE

         I, Stephanie O’Byrne, hereby certify that on this 16th day of January, a copy of the attached

 sealed letter entitled SCENTAIR’S MOTION TO EXCLUDE NEW DAMAGES THEORIES

 AND RELATED EVIDENCE was served upon the following counsel of record via electronic

 mail:

  Brian R. Lemon                                    Marc C. Levy
  Alexandra M. Joyce                                Syed Abedi
  MCCARTER & ENGLISH, LLP                           Tayah Woodard
  Renaissance Centre                                Jessica S. Gritton
  405 N. King Street, 8th Floor                     Emily M. Ross
  Wilmington, DE 19801                              SEED IP LAW GROUP LLP
  Telephone: (302) 984-6300                         701 Fifth Avenue, Suite 5400
  blemon@mccarter.com                               Seattle, WA 98104
  ajoyce@mccarter.com                               Telephone: (206) 622-4900
                                                    marcl@seedip.com
                                                    syedA@seedip.com
                                                    tayah.woodard@seedip.com
                                                    Jessica.gritton@seedip.com
                                                    Emily.Ross@seedip.com



                                                     /s/ Stephanie E. O’Byrne
                                                     Stephanie E. O’Byrne (DE Bar No. 4446)
